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                             UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS


 In re:     Jetall Companies, Inc.                §
                                                  §          Civil Action No.       4:25cv809
           Debtor                                 §
                                                  §         Bankruptcy Case No. 24-35761
 Jetall Companies, Inc.                           §
 Appellant                                        §


                                      Notice of Deficiency
1. The notice of appeal was filed in the bankruptcy court on 2/21/2025. The designation of the
   record was due on 3/7/2025. See Fed. R. Bankr. P. 8009.
2. If the appellant does not cure these deficiencies within 14 days, the district court may dismiss
   the appeal without further notice.

          ☐ The filing fee has not been paid.

          ☒ The record has not been designated.

          ☐ The record designated by the appellant includes transcripts that have not been
            ordered.

          ☐ The appellant has not arranged to pay for the transcripts designated.




Date: March 13, 2025
                                                      Nathan Ochsner, Clerk of Court
                                                        H. Lerma
                                                      Deputy Clerk
